                                                 Letter   to the
                                                  Case 20-20182   united
                                                                Document 389 States     Trustee
                                                                              Filed in TXSB         - DOJ
                                                                                            on 06/01/20 Page 1 of 14
To
     Mr. Hector Duran
     United States Trustee (Depart of Justice)
     Trial Attorney
Subject: JC Penney bankruptcy - Case No. 20-20182

Respected Sir,
   My name is Rahul Shekatkar. I'm an individual shareholder with JC Penney who is caught on the wrong side of this unprecedented bankruptcy case with JC Penney.
   We joined into the Status call on May 28th and were able to get an update from the attorneys.
   It was heartwarming and emotional to hear the Judge speak and help the shareholders and take the time to educate us on some of the basic fundamental of the
bankruptcy proceeding. He called on my name, but I was on mute and hence couldn't speak, and I really appreciated him giving us a chance to speak to him and
present our concerns. We will be planning to do so collectively in the next few weeks but to do so, we need some help from you. We are individual shareholders with
no professional help or representation and are putting together some of these details based on our individual research.
     We really appreciate you standing up for us and when the Judge asked you to confirm you availability to connect with us, you assured not only the Judge but also
comforted millions of shareholders who are desperately looking for a glimmer of hope. Your message was very comforting and very powerful, and it uplifted the
hopes and sprits of hundreds of shareholders who were on the call that day.
     I have put together a letter of request to you (attached PowerPoint slides for your review. Hope you wouldn't mind the structure and the formalism I'm supposed
to follow in such letters). If possible, the PowerPoint can be best viewed in the presentation mode as it will animate and show the movement of shareholders asset
from current entity to the new entity in utmost clarity.
      Looking forward for your feedback.
Links:
Letter to you (PowerPoint slide) : https://1drv.ms/p/s!AtGUC3iy90hcnPYJWMMct_OqAtHRow?e=ugMcDj
Docket 319: https://1drv.ms/b/s!AtGUC3iy90hcnPYIqvzXp08FZY33oA?e=mps9JN
Thanks again !
Regards
Rahul Shekatkar
Pennington, NJ – 08534
C: 925-783-5903
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SHAREHOLDERS LETTER OF REQUEST TO US TRUSTEE
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                             •    Chapter 11 - Bankruptcy eligibility test.
                             •    Debt to Asset ratio comparison across other Retailers/ Peers
                             •    2019 Fiscal year Balance Sheet (Please note the debt v/s assets ratio as of end of
                                  Feb)
Shareholders                 •    JC Penney’s Debt v/s Asset summary from original Petition and Docket 25.
Summary of                   •    Balance sheet projections as of petition date (Based on the petition details)
Concerns:                    •    Projections of JC Penney’s Assets break down
                             •    JCP Shareholders Asset transfer simulation to Prop-co and Op-co as is w/o BK
                             •    JC Penney Shareholder’s Assets in Prop-co as is w/o BK

Letter of request            •    JC Penney Shareholder’s Assets in Op-co as is w/o BK

to US Trustee                •    Current JCP shareholders Valuation of the Prop-co and Ops-Cos assets
                             •    Conclusion

Mr. Hector Duran             •    Explore Potential legal criminal actions against JCP management for submitting a
                                  fraudulent case.
                             Link to this PowerPoint to view it in presentation mode for visual simulation of
                             Shareholders asset movements from current entity to the new Props / Ops Co:

                             https://1drv.ms/p/s!AtGUC3iy90hcnPYJWMMct_OqAtHRow?e=ugMcDj
        Chapter 11 Bankruptcy Eligibility Test       Case 20-20182 Document 389 Filed in TXSB on 06/01/20 Page 4 of 14

What is Bankruptcy:
    • Total debt liability exceeds current assets and the debtor is insolvent.
    • Debt burden is unmanageable and hence either liquidate the assets (Chapter 7) to partially or fully satisfy creditors interest in debtors secured assets and dissolve the
      entity post liquidation OR
    • Chapter 11: Restructure the debt and restructure the operations where creditors forego partial or full interest in debt liability in lieu for equity interest or Lien interest in
      the newly organized entity.

Has JC Penney met the above eligibility test to file for Chapter 11 Bankruptcy:
•     Total JCP assets = $ 8,568,659,386 (Docket 1, page 6)
•     Total Debt (including unsecured debt) = $ 4,918,000,000 (Docket 25, page 38).
                    (Note there are additional operational costs and they cannot be accounted as debt)
      Thus Total assets – Total debt = [$ 8,568,659,386 - $ 4,918,000,000] = $ 3,650,659,386

JC Penney is not insolvent and thus has not met the eligibility test to file for bankruptcy:
•    JC Penney’s Debt does not exceed its assets. Debt to asset ratio = (4.918 / 8.569) = 57% .
•    JC Penney already has 2 offers on the table to leverage the available shareholders equity and seek for debt financing and still be solvent (Docket 25, page 11) .
     E.g. Macy’s took $1.3B in debt financing last week and have a strategy to face the current pandemic situation. Macy’s is not scamming its equity holders and
     wiping out their interest, but instead its leveraging the assets it has to secure additional debt financing. With the 2 offers on the table, JCP also has a similar
     option to secure the additional funding and payoff the debt as it resumes its operations once the stores open. Please note: Even after the additional Debt,
     JCP will still be solvent. (Loans are still going to be approx. 70% LTV of unencumbered assets i.e. left with 30% equity)
•    JC Penney may have high debt burden but is not insolvent.
•    Reducing the long term debt liability at the expense of existing shareholders is not a valid argument for filing bankruptcy (Chapter 11 restructure).
    o     Instead they need to aggressively cut cost and operate within their means, reduce executive compensation and frivolous expenditure and bring the costs
          and debt under control as the appropriate strategy vs Bankruptcy for which they are not even eligible for.
    o     Else every public company listed on NYSE will file for bankruptcy and wipe out the shareholder equity and re-organize as its convenient to wipe out Billions
          of unsecured shareholders equity and start clean slate and keep doing this over and over again.
JC Penney’s case will set a wrong precedence for up coming bankruptcies and will give incentive to corporations to wipe out unsecured shareholders
equity even when they have a significant positive equity (i.e acceptable Debt / Asset ratio)
      Debt to Asset ratio comparison across Peers Case 20-20182 Document 389 Filed in TXSB on 06/01/20 Page 5 of 14


                  Burlington   Home        BJs                    Hudson       JC       Dollar                           Ross
                                                       TJ MAX                                     Nordstrom   Big lots             Kohls     Macys      Target
                    Stores     depot     Wholesale                 Bay       Penney      Tree                            Store
  Debt to Asset
                     75%        71%         66%          65%       57%        57%        51%         49%       48%       46%        40%        37%       32%
     ratio



Debt to Asset Ratio = (Total Debt) / (Total Assets).
 JC Penney’s Debt to Asset ratio is directionally in line with its Peer. Not too high and not too low.

 Note:
• Burlington stores, Home depot, BJs Wholesale, TJ Max, Hudson Bay, Dollar Tree, Nordstrom, Big lots, Ross Stores etc. are not filing for bankruptcy to restructure
  their debt and wipe out the shareholders. Instead they are working smartly to control their costs and operate efficiently.

• They are operating under moral and fiduciary obligations towards their shareholders and are trying to maximize the value for their shareholders.

• JC Penney on the other hand, has a lower Debt to Asset ratio in comparison to some of its Peers and competitors. Thus its in a better financial situation , but its
  artificially creating a false narrative of panic and is artificially masking the situation and taking advantage of the pandemic situation and the shutdown to deceive
  the court (as they know the court may not go through the financial details as they may not have the resources and time to review all these facts independently
  in detail) and are taking advantage of the bankruptcy proceedings to profit from this situation and cheat the shareholders of their hard earned savings.

• There needs to be a limit to the corporate Greed and in a capitalist society, with so much of deregulation, the consumer protection policies have taken a back seat
  in favor of Greed and focusing on the short term goals and appeasement rather than focusing on the core issues and getting to the facts of difficult situations.

• Shareholders request the Attorney to “The United States Trustee” and “Hon. Judge David Jones” to not allow for this corruption in their court and be fair and
  just and apply the rule of law governing the adjudication of such fraudulent cases and impose punitive actions on the perpetrators so that it acts as a deterrent
  for others from committing similar fraud.
                                             CONSOLIDATED
                                      Case 20-20182 Document BALANCE
                                                             389 Filed inSHEETS - USD
                                                                          TXSB on      ($) $Page
                                                                                  06/01/20   in Millions
                                                                                                 6 of 14       Feb. 01, 2020   Feb. 02, 2019
                                             Operating                                                                    $ 67             $0
                                             Current assets:
                                             Cash in banks and in transit                                                108             109
                                             Cash short-term investments                                                 278             224
 2019 Fiscal year                            Cash and cash equivalents
                                             Merchandise inventory
                                                                                                                         386
                                                                                                                       2,166
                                                                                                                                         333
                                                                                                                                       2,437
 Balance Sheet.                              Prepaid expenses and other
                                             Total current assets
                                                                                                                         174
                                                                                                                       2,726
                                                                                                                                         189
                                                                                                                                       2,959
 (10Q from end of Feb)                       Property and equipment, net
                                             Operating lease assets
                                                                                                                       3,488
                                                                                                                         998
                                                                                                                                       3,938
                                                                                                                                           0
                                             Prepaid pension                                                             120             147
                                             Other assets                                                                657             677
• Total Assets = $7.99 B
                                             Total Assets                                                              7,989           7,721
• Total Liability = $7.16 B                  Current liabilities:
                                             Merchandise accounts payable                                                786             847
                                             Other accounts payable and accrued expenses                                 931             995
• Shareholder equity = $829 Million          Current portion of finance leases and note payable                            1                8
                                             Current maturities of long-term debt                                        147              92
•Price / Share = $2.59                       Total current liabilities                                                 1,932           1,942
                                             Operating                                                                 1,108                0
                                             Long-term finance leases and note payable                                     0             204
                                             Long-term debt                                                            3,574           3,716
                                             Deferred taxes                                                              116             131
                                             Other liabilities                                                           430             558
                                             Total Liabilities                                                         7,160           6,551
                                             Stockholders' Equity                                          $         829.00 $      1,170.00
                                             Price / Share                                                 $           2.59 $          3.66
JC Penney’s Debt v/s Asset summary: Case 20-20182 Document 389 Filed in TXSB on 06/01/20 Page 7 of 14
         $8,569 M -------------------------------------------------

                                                                        Total assets          Total debt        Shareholders’ equity
                                      Share-holders
                                         equity                       $ 8,568,659,386.00   $ 4,918,000,000.00   $ 3,650,659,386.00
                                        $3,651M
                           Balance sheet projections    as of petition
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• Shareholders equity = Total assets – Total liabilities (carried from left side to the right side where applicable.)
• Note Shareholders equity of end of Feb 2020 v/s As of May 15th 2020 (Petition date). Its improved significantly and we are not missing any liabilities in the projections. The
  asset value reported in Petition is much higher and the unsecured obligation that’s filed in petition is lower than reported in end of Feb and the reason for improvement
• NOLs should be accounted into the shareholders equity, as its treated as an asset for the current entity (NOLS value captured at 33% assumed tax rate)
              JC Penney’s Assets break down
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(Projections, given we don’t have the details from JCP yet)
JCP Shareholders Asset transfer to Prop-co and Op-co as is w/o BK
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                                                                                         New entity projections, As of the Petition date.
                                                                                                  Prop-Co (Property Company)
                                                                                Property and equipment, net                 $             3,488.00
          Old JCP entity As of the Petition date                                Operating lease assets                      $               998.00
                                          in Millions                                                                        $           4,486.00
 Current Inventory at cost (WAC)          $    2,400.00                         Debt to Equity swap (term $1.521B, 1st
                                                                                                                            $           2,421.00
                                                                                $0.5B and 2nd lien $0.4B loan)
 Account receivable                       $      146.00
                                                                                current shareholders equity                 $           2,065.00
 Credit card receivables                  $      200.00
               ABL assets
                                          $    2,746.00
 Cash and cash equivalents                 $      386.00                                                         Op-Co (Operations Company)
 Prepaid expenses and other                $      174.00                                         ABL assets                             $            2,746.00
 Property and equipment, net               $    3,488.00                                         Cash and cash equivalents              $              386.00
 Operating lease assets                    $      998.00                                         Prepaid expenses and other             $              174.00
                                                                                                 Prepaid pension                        $              120.00
 Prepaid pension                           $      120.00
                                                                                                 Other assets                           $              657.00
 Other assets                              $      657.00
              Total Assets                $    8,569.00                                                                                      $       4,083.00
 Current Stockholders' Equity (without                                                           Debt to Equity swap (ABL) $1.179B and
                                       $       3,651.00                                                                                      $       2,497.00
 operating liabilities) Slide 5                                                                  unsecured debt $1.318B
  Total Assets JCP declared in Docket 1                                                          current shareholders equity
                                          $ 8,569.00                                                                                         $       1,586.00
   Thus the above rollforward basis asset break up is
 approximately lining up with the total assets declared
    in Docket 1 by the CFO. JCP has yet to share the
 balance sheet as of the petition date, but the above is                   Total assets in new CO (per Docket # 1)    $           8,569.00
                a close representation
                                                                             Total stock holders equity transffered
                                                                               from current entity to new entity      $           3,651.00
                                                                             (matches the equity in the old entity)
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                                                                     JC Penney Shareholder Assets in
                                                                           Prop-co as is w/o BK

                 Prop-Co (Property Company)                     If we were to create the Prop-CO outside of bankruptcy
Property and equipment, net             $         3,488.00      consideration. Here’s how the split should look like:
                                                                    Assumption:
Operating lease assets                  $           998.00         • Real-estate and operating lease assets are moved to Prop-Co
                                        $         4,486.00           (logical segregation) i.e. $3.488B and $0.998B
Debt to Equity swap (term $1.521B, 1st                             • Thus total assets moved to Prop-co = $4.486B
                                        $         2,421.00         • Term loan debt = $1.521B, 1st lien = $0.5B, 2nd lien - $0.4B =
$0.5B and 2nd lien $0.4B loan)
                                                                     $2.421B
current shareholders equity             $         2,065.00         • We are making an assumption that creditors are not going to
                                                                     give away a single penny that JCP owes to them and we will give
                                                                     them 100% of their Debt swapped to equity against the new
                                                                     Prop-co entity.
                                                                   • (Prop-CO assets) – (Debt/ Equity SWAP) = $2.065B
                                                                   • Current Shareholders equity in Prop-co = $2.065B
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                                                                    JC Penney Shareholder Assets
                                                                    in Op-co as is w/o BK
                Op-Co (Operations Company)
ABL assets                             $            2,746.00
Cash and cash equivalents              $              386.00       If we were to create the Op-CO outside of bankruptcy consideration.
Prepaid expenses and other             $              174.00       Here’s how the split should look like:
Prepaid pension                        $              120.00           Assumption:
Other assets                           $              657.00          • ABL assets (Inventory, Credit card receivables, Accounts
                                                                        receivables)
                                         $          4,083.00          • Cash and cash equivalent
                                                                      • Prepaid expenses
Debt to Equity swap (ABL) $1.179B and
                                         $          2,497.00          • Prepaid Pension and
unsecured debt $1.318B                                                • Other Assets should be transferred to the Op-co. i.e. $4.083 B
current shareholders equity                                           • Thus total assets moved to Prop-co = $4.083B
                                         $          1,586.00          • ABL loan = $1.179B, Unsecured loan= $1.218B ; Total =$2.497B
                                                                      • We are making an assumption that creditors are not going to
                                                                        give away a single penny that JCP owes to them and we will give
                                                                        them 100% of their Debt swapped to equity against the new
                                                                        Ops-co entity.
                                                                      • (Op-CO assets) – (Debt/ Equity SWAP) = $1.586B
                                                                      • Current Shareholders equity in Prop-co = $1.586B
     Current JCP shareholders Valuation in Props-co and Ops-Co assets
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Prop-Co: based on a baseline valuation of Assets minus Debt to equity swap, Shareholders equity in prop-co = $2.065B
Ops-Co: based on a baseline valuation of Assets minus Debt to equity swap, Shareholders equity in prop-co = $1.586B
Total assets between the two entities = $3.561B
Operating expenses:
      •   Deferred taxes = $0.116
      •   Other liabilities = $0.430B
      •   Operating expenses = $1.108B
      •   Current portion of finance leases and note payable = $0.001B

• Net Shareholders value after netting the operating expenses = $1.996B
• Price to earning multiple of the Ops – CO and Prop-Co will change significantly given the new entities will not have any debt any more.
• Current PE = -0.275
• Average PE for Department store (Big lots = 6.26 , Target = 19.2 , Macy’s = 4.5) , but these companies have debt and hence the ratio is a bit
  low except for Target. Conservatively, we should expect a PE of 7 or 8 for JCP once its debt free.

• The valuation for net shareholders asset of $1.996B with the revised PE of 7 should be directionally be         $6~ 7B.   (Evaluation based on the
  revised PE multiple)
• Please note, if shareholders equity is wiped out, then the court will hand over $1.996B of shareholders asset for free to the new entity. It
  will also destroy the $6 ~ 7 B in shareholders asset once the entities are debt free and are valued fairly in the market. Destruction of
  shareholders value to the tune of almost $7B will be a significant injustice for the shareholders and a reward to the new entity and the JCP
  management for their fraudulent action. (We should not reward the JC Penney management for their fraudulent activities, but instead
  hold them accountable)
Conclusion:                                            Case 20-20182 Document 389 Filed in TXSB on 06/01/20 Page 14 of 14

 JC Penney’s Bankruptcy petition to the court is unlike any other petition and should not be viewed with the
 same historical perspective and should be analyzed in detail before ruling out on any decision on shareholders
 interest in the current assets and the future entity's assets.
  • Asset – Debt = $3.651B (i.e. significant positive value)
  • 2 offers on the table to meet the financing needs leveraging the unencumbered assets. Similar to Macy’s recent financing.
  • Strong ecomm business model, thus even with few store closure post pandemic, the impact to the total revenue is minimal.
  • Business operations has just turned around i.e. $583M of EBITA in the latest earning. Thus giving up the fruits of all this hard work to the creditors for free is illogical, unless the
    management is colluding with the creditors and fraudulently trying to steal the shareholders assets in broad day light, and misusing the judiciary procedure to their advantage.
Explore Potential options outside of BK and also legal criminal actions against JCP management for submitting a fraudulent case
• Not a single penny of shareholders equity of about $3.651B can be transferred out of the current JCP entity.
• JCP market analysis team, cannot come back and re-evaluate the assets from Current declared assets of $8.569B to $4.91B to match the
  creditors secured / unsecured liability. If the assets are valued lower artificially than the current declared $8.569B then the court should
  ignore the market analysis which might be rigged to benefit the debtor to extinguish the shareholders.
• If the current assets are moved into the new Company (Prop-CO and Ops-CO) to explore the debt to equity swap, then all the $3.651 B of shareholders
  equity needs to be accounted against the current shareholder. i.e. swapped for new shares worth $3.651B in the new entity.
• Additional punitive damages should be paid to the shareholders for dragging them through this fraudulent bankruptcy proceeding and for wasting tax
  payers money in running the bankruptcy proceeding.
• This appears to be a scheme devised and/or intended to defraud JCP creditors and shareholders, all in violation of 18 U.S.C., Section 157.
• JCP has been dishonest with the Court, that artifice to defraud, scheme, concealment, false or fraudulent representation,
  claim or promises concerning its financial condition, actions and intentions, and the United state Trustee and Judge should
  review this in detail, dismiss the case completely and have JC Penney explore alternatives outside of bankruptcy court and
  seek legal criminal actions against JCP management and its attorneys and award punitive damages to the shareholders for
  dragging them through this fraudulent BK process.
